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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO


   ALEJANDRO MENOCAL,
   MARCOS BRAMBILA,                                    Civil No. 1:14-cv-02887-JLK
   GRISEL XAHUENTITLA,
   HUGO HERNANDEZ,
   LOURDES ARGUETA,
   JESUS GAYTAN,
   OLGA ALEXAKLINA,
   DAGOBERTO VIZGUERRA, and
   DEMETRIO VALERGA
   on their own behalf and on behalf of all others
   similarly situated,
                              Plaintiffs,

            v.

   THE GEO GROUP, INC.,

                                 Defendant.


 DECLARATION OF MICHAEL J. SCIMONE IN SUPPORT OF PLAINTIFFS’
   REPLY IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT ON
              DEFENDANT’S AFFIRMATIVE DEFENSE

       I, Michael J. Scimone, pursuant to 28 U.S.C. § 1746, declare under penalty of

perjury as follows:

       1.        I am a Partner with the law firm Outten & Golden LLP, which, together

with Towards Justice, the Law Office of R. Andrew Free, Milstein Law Office, The

Kelman Buescher Firm, P.C., and Meyer Law Office, P.C., are Class Counsel in this

action. I am an attorney in good standing admitted to practice before this Court.

       2.        I have been one of the lawyers primarily responsible for the prosecution of

Plaintiffs’ and the Class’s claims in this case.
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       3.     I make the statements in this Declaration based on my personal knowledge

and would so testify if called as a witness at trial.

       4.     Plaintiffs have sought discovery from ICE by way of a subpoena. ICE

produced approximately 5,000 pages of documents in response to that subpoena on June

5, 2020. The documents ICE produced are so heavily redacted that it is unclear whether

or not this letter is among the documents produced. Plaintiffs intend to challenge ICE’s

redactions and seek the unredacted production of this letter.

       5.     Attached hereto as Reply Exhibit 1 is a true and correct copy the 2011

Contract, bates stamped GEO_MEN 00019613-20037. This exhibit has been filed as a

restricted document in accordance with D. Colo. L. Civ. R. 7.2.

       6.     Attached hereto as Reply Exhibit 2 is a true and correct copy of excerpts

from the June 10, 2020 deposition of Brian Evans.

       7.     Attached hereto as Reply Exhibit 3 is a true and correct copy of

correspondence from GEO to ICE dated February 14, 2018, labeled 2018-ICLI-00052

2751-2755.

       8.     Attached hereto as Reply Exhibit 4 is a true and correct copy of

correspondence from ICE to GEO dated June 21, 2018, labeled 2018-ICLI-00052 6054-

55.

       9.     Attached hereto as Reply Exhibit 5 is a true and correct copy of excerpts

from the March 29, 2016 Rule 30(b)(6) deposition of Dawn Ceja.

       10.    Attached hereto as Reply Exhibit 6 is a true and correct copy of excerpts

from the October 9, 2019 deposition of Amber Martin.

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       11.    Attached hereto as Reply Exhibit 7 is a true and correct copy of excerpts

from the November 11, 2019 deposition of Kevin Martin.

       12.    Attached hereto as Reply Exhibit 8 is a true and correct copy of the ICE

Fiscal Year 2017 Report to Congress entitled Progress in Implementing 2011 PBNDS

Standards and DHS PREA Requirements at Detention Facilities, available at

https://www.dhs.gov/sites/default/files/publications/ICE%20-

%20Progress%20in%20Implementing%202011%20PBNDS%20Standards%20and%20D

HS%20PREA%20Requirements_0.pdf (last visited June 25, 2020).

       13.    Attached hereto as Reply Exhibit 9 is a true and correct copy of excerpts

from the February 28, 2020 Rule 30(b)(6) deposition of Amber Martin.

       14.    Attached hereto as Reply Exhibit 10 is a true and correct copy of excerpts

from the October 26, 2017 deposition of Plaintiff Grisel Xahuentitla-Flores.

       15.    Attached hereto as Reply Exhibit 11 is a true and correct copy of excerpts

from the June 24, 2020 of Plaintiff Hugo Hernandez-Ceren.

       16.    Attached hereto as Reply Exhibit 12 is a true and correct copy of excerpts

from the February 27, 2020 Rule 30(b)(6) deposition of Daniel Ragsdale.

       17.    Attached hereto as Reply Exhibit 13 is a true and correct copy of the

Declaration of Jamal N. Whitehead in Support of Respondents’ Answer in Opposition to

Petition for Permission to Appeal Class Certification and its exhibits, dated September

13, 2018 and filed as ECF No. 5-2 in Nwauzor et al. v. The Geo Group, Inc., No. 18-

80095 (9th Cir.).

       18.    Attached hereto as Reply Exhibit 14 is a true and correct copy of Plaintiff

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Alejandro Menocal Lepe’s Objections and Responses to Defendant the GEO Group,

Inc.’s Second Set of Written Discovery Requests, dated January 19, 2018.

      19.    Attached hereto as Reply Exhibit 15 is a true and correct copy of Plaintiff

Grisel Xahuentitla-Flores’ Objections and Responses to Defendant the GEO Group,

Inc.’s Second Set of Written Discovery Requests, dated January 22, 2018.

      20.    Attached hereto as Reply Exhibit 16 is a true and correct copy of Plaintiff

Lourdes Argueta’s Objections and Responses to Defendant the GEO Group, Inc.’s

Second Set of Written Discovery Requests, dated March 6, 2018.

      21.    Attached hereto as Reply Exhibit 17 is a true and correct copy of the

Department of Homeland Security Office of Inspector General Report entitled

Management Alert on Issues Requiring Immediate Action at the Theo Lacy Facility in

Orange, California, dated March 6, 2017 and available at

http://www.endisolation.org/blog/wp-content/uploads/2017/05/Management-Alert-on-

Issues-Requiring-Immediate.pdf (last visited June 26, 2020).




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 Dated: New York, NY                     Respectfully submitted,
        June 26, 2020
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                                         Class Counsel




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